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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

                                                    )
    STATE OF NEW JERSEY,                            )
                                                    )
                Plaintiff,                          )
                                                    )
         v.                                         )
                                                    )
    UNITED STATES DEPARTMENT OF                     )    No. 23-3885 (LMG-LDW)
    TRANSPORTATION, et al.,                         )
                                                    )
                Defendants,                         )
                                                    )
         and                                        )
                                                    )
    METROPOLITAN TRANSPORTATION                     )
    AUTHORITY, et al.,                              )
                                                    )
                Defendant-Intervenors.              )
                                                    )

       FEDERAL DEFENDANTS’ RESPONSE IN SUPPORT OF SUPPLEMENTAL
                      EXPLANATION ON REMAND

        As directed by the Court’s December 30, 2024 Opinion (ECF No. 191) and January 24,

2025 Order (ECF No. 226), Defendants the U.S. Department of Transportation, et al., provide

the following response to Plaintiff the State of New Jersey’s (“the State”) comments on remand

(“Pls.’ Supp.”) (ECF No. 231).

        On February 19, 2025, the Secretary of Transportation terminated the Value Pricing Pilot

Program Agreement (“VPPP Agreement”) between FHWA and the Project Sponsors1 and

rescinded FHWA’s approval of the Central Business District Tolling Program. See ECF No. 236-

1. Defendant-Intervenors MTA filed suit the same day challenging that decision. See ECF No.



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       The Project Sponsors are the Metropolitan Transportation Authority (“MTA”), the New
York State Department of Transportation, and the New York City Department of Transportation.
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236-2 (Compl., Metro Transp. Auth. v. Duffy, 1:25-cv-1413 (S.D.N.Y.) (“Duffy”)). On February

20, 2025, FHWA notified the Project Sponsors that rescission of the approval would be effective

March 21, 2025. See ECF No. 238-3. Given that this matter is now likely moot, Defendants

moved on February 25, 2025, for a stay of these proceedings. See ECF No. 238-1. Considering

that pending request and FWHA’s rescission of tolling authority, further argument on remand is

not currently an efficient use of judicial resources. The Court will be in a better position to

evaluate whether any further steps are appropriate in this litigation—including further argument

or proceeding to a decision on remand—at the conclusion of the related litigation in Duffy.

       In light of this concern, Defendants decline to respond further to the State’s remand

comments and instead refer the Court to their January 17, 2025 filing, ECF No. 218, and

FHWA’s accompanying Supplemental Memorandum, ECF No. 218-1.

                       Respectfully submitted this 28th day of February 2025,

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                                              Environment & Natural Resources Division

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